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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
Luc A. Despins, Chapter 11 Trustee                                              AMAZON.COM, INC., HING CHI NGOK, ALEX
                                                                                    Amazon.com, Inc BERNARDO ENRIQUEZ,
                                                                                HADJICHARALAMBOUS,
                                                                                CHUNGUANG HAN, and MEI GUO
ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Douglas S. Skalka, Patrick R. Linsey
Neubert, Pepe & Monteith, P.C.
195 Church St. 13th Floor New Haven, CT 06510
(203)781-2847

PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □
                                                                 x Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Complaint of Chapter 11 Trustee seeking avoidance and recovery of fraudulent transfers and
postpetition transfers and related relief pursuant to Bankruptcy Code Sections 544,548,549, and
550 and New York Debtor and Creditor Law Sections 273, 274, and 276

                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                     □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                □
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $
Other Relief Sought
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              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
Ho Wan Kwok                                                           22-50073 (JAM)
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
Connecticut                                                           Bridgeport                        Julie A. Manning
                                       RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                        DEFENDANT                                              ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

            /s/ Patrick R. Linsey




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                   February 10, 2024

                                                                              Patrick R. Linsey




                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                    BRIDGEPORT DIVISION

-----------------------------------------------------------
                                                      x
                                                      :
In re:                                                :       Chapter 11
                                                      :
                               1
HO WAN KWOK, et al.,                                  :       Case No. 22-50073 (JAM)
                                                      :
                                 Debtors.             :       (Jointly Administered)
                                                      :
-----------------------------------------------------------
                                                      x
                                                      :
LUC A. DESPINS, CHAPTER 11                            :
TRUSTEE,                                              :
                                                      :       Adv. Proceeding No. [              ]
                                 Plaintiff,           :
v.                                                    :
                                                      :
                                                      :       February 10, 2024
AMAZON.COM, INC.,                                     :
HING CHI NGOK,                                        :
ALEX HADJICHARALAMBOUS,                               :
BERNARDO ENRIQUEZ, CHUNGUANG :
HAN, and MEI GUO,                                     x

                                 Defendants.

-----------------------------------------------------------
                COMPLAINT OF CHAPTER 11 TRUSTEE SEEKING AVOIDANCE
   AND RECOVERY OF FRAUDULENT TRANSFERS AND POSTPETITION TRANSFERS
  AND RELATED RELIEF PURSUANT TO BANKRUPTCY CODE SECTIONS 544, 548, 549,
    AND 550 AND NEW YORK DEBTOR & CREDITOR LAW SECTIONS 273, 274, AND 276

         Luc A. Despins, in his capacity as the chapter 11 trustee (the “Trustee”) appointed in the

chapter 11 case (the “Chapter 11 Case”) of Ho Wan Kwok (the “Debtor” or “Kwok”), files this




1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings
     LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address
     for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park
     Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes
     of notices and communications).
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adversary complaint (the “Complaint”) against defendants Amazon.com, Inc. (the “Amazon”) and

Hing Chi Ngok (“Ngok”), Alex Hadjicharalambous (“Hadjicharalambous”), Bernardo Enriquez

(“Enriquez”), Chunguang Han (“Han”), and Mei Guo (“Guo”) (collectively the “Beneficiary

Defendants” and jointly with Amazon, the “Defendants”), stating as follows:

                                       NATURE OF ACTION

       1.      The Trustee commences this adversary proceeding to avoid and recover: (a)

transfers of the Debtor’s property prior to the commencement of this Chapter 11 Case; and (b)

transfers of property of the Debtor’s chapter 11 estate after the commencement of this Chapter 11

Case and not authorized by the Bankruptcy Court or under Title 11 of the United States Code (the

“Bankruptcy Code”).

       2.      The Debtor, through his alter ego shell companies, Greenwich Land, LLC

(“Greenwich Land”), G Club Operations LLC (“G Club”), HCHK Technologies Inc. (“HCHK

Technologies”), Lexington Property/Anthony DiBattisa (“Lexington”) Golden Spring (New York)

Limited (“Golden Spring”), transferred funds in the amount of $289,429.23 prior to the Petition

Date (as defined herein) to Amazon as initial transferee.

       3.      These transfers were actually fraudulent, because the Debtor effectuated them as

part of his “shell game,” and they were made with the intent to hinder, delay, and/or defraud the

Debtor’s creditors. Alternatively, these transfers were constructively fraudulent, because they

were made when the Debtor was insolvent, and the Debtor did not receive reasonably equivalent

value in consideration thereof.

       4.      Following the Petition Date, the Debtor, through his alter ego shell companies,

Greenwich Land, G Club, Lexington, and Golden Spring, transferred funds in the aggregate

amount of $198,987.57 to Amazon as initial transferee.



                                                     2
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          5.      Because these postpetition transfers of estate property were not authorized by the

Court or under the Bankruptcy Code, they are subject to avoidance and recovery under sections

549 and 550 of the Bankruptcy Code.

                                       JURISDICTION AND VENUE

          6.      This Court has subject matter jurisdiction over this adversary proceeding pursuant

to 28 U.S.C. § 1334(b).

          7.      This adversary proceeding has been referred to this Court pursuant to 28 U.S.C. §

157(a).

          8.      The statutory predicates for the relief sought herein include sections 544, 547, 548,

549, and 550 of the Bankruptcy Code and New York Debtor & Creditor Law sections 273, 274,

and 276 2 or any other applicable state law equivalents.

                                                 THE PARTIES

          9.      The Trustee is the chapter 11 trustee in the Chapter 11 Case pursuant to the

Bankruptcy Court’s order entered on July 8, 2022 [Case No. 22-50073 (the “Main Case”) Docket

No. 523].

          10.     Amazon is a Delaware corporation with an address at 410 Terry Avenue North,

Seattle, WA 98109.

          11.     Ngok is an individual residing at 373 Taconic Road, Greenwich, Connecticut

06831.




2
     All statutory references to New York Debtor and Creditor Law will hereinafter be referred to as “N.Y. Debt. &
     Cred. Law”. The New York Uniform Voidable Transactions Act (“NYUVT”) replaced the New York Uniform
     Fraudulent Conveyance Act (“NYUFC”) and became effective on April 4, 2020 and applies to transfers made or
     obligations incurred on or after April 4, 2020. With respect to transfers prior to April 4, 2020, the Trustee seeks
     relief in this action under the NYUFC and N.Y. Debt. & Cred. Law sections 273, 273a, 275, 276 and 278.

                                                                3
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         12.      Hadjicharalambous is an individual residing at 2318 28th Street, Astoria, New York

11105.

         13.      Enriquez is an individual residing at 5830 Penrod Street # 1, Corona, New York

11368.

         14.      Han is an individual residing at 920 Belmont Ave Apt 3104, North Haledon, New

Jersey 07508.

         15.      Guo is an individual residing at 492 Broome Street, Apartment 3, New York, NY

10013.

                                                     FACTS

A.       Chapter 11 Case

         16.      The Debtor filed a voluntary petition for relief under Chapter 11 of the Bankruptcy

Code on February 15, 2022 (the “Petition Date”) in the United States Bankruptcy Court for the

District of Connecticut (the “Bankruptcy Court”), thus commencing the Chapter 11 Case.

         17.      On March 21, 2022, the Office of the United States Trustee appointed an Official

Committee of Unsecured Creditors in this Chapter 11 Case. No examiner has been appointed.

         18.      The Debtor’s bankruptcy schedules, filed in March 2022 with the Bankruptcy

Court, claimed that he owned $3,850 in assets and had incurred hundreds of millions of dollars of

liabilities.3 While the Debtor was, indeed, deeply indebted, his schedules failed to disclose the

Debtor’s property as held and/or transferred through his many alter ego shell companies, including

Greenwich Land, G Club, Lexington, HCHK Technologies and Golden Spring.

         19.      On June 15, 2022, the Court entered a memorandum of decision and order [Main

Case Docket No. 465] directing the United States Trustee to appoint a chapter 11 trustee in the


3
     Schedule of Assets and Liabilities, at 1 [Main Case Docket No. 78].


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Chapter 11 Case. Pursuant to this order, the United States Trustee selected Luc A. Despins as the

Trustee. On July 8, 2022, the Court entered an order granting the appointment of Luc A. Despins

as the Trustee in the Chapter 11 Case [Main Case Docket No. 523].

B.       Debtor’s Use of Shell Companies and Trustee’s Adversary Proceedings

         20.      Greenwich Land, G Club, Lexington, HCHK Technologies and Golden Spring are

among the numerous alter ego shell companies used by the Debtor to hinder, delay, and/or defraud

his creditors.4 For years, the Debtor has orchestrated a “shell game,” employing a convoluted web

of shell companies, nominally owned by family members, lieutenants, and/or subordinates, but in

reality, controlled by the Debtor. This shell game enabled the Debtor to use and spend and/or

transfer millions of dollars of cash and other assets—while concealing his property from creditors.

         21.      Since his appointment, the Trustee has commenced a number of adversary

proceedings in the Chapter 11 Case to, among other things, establish that the Debtor’s shell




4
     There is a pending motion for summary judgment to determine that Greenwich Land is the alter ego of the Debtor
     in the adversary proceeding Despins v. Greenwich Land, LLC (Adv. Proc. No. 23-5005 (the “Greenwich Land
     A.P.”), Docket No. 78). The Trustee incorporates by reference herein, the Trustee’s Complaint filed in the
     Greenwich Land A.P. (Adv. Proc. No. 23-5005, Docket No. 1).


     The Trustee has or will imminently commence an adversary proceeding against G Club, which adversary
     proceeding seeks, among other things, a declaratory judgment that G Club was the alter ego of the Debtor. The
     Trustee incorporates by reference herein, the Trustee’s Complaint filed in such adversary proceeding.

     Default has entered against HCHK Technologies and Lexington in the adversary proceeding Despins v. HCHK
     Technologies, Inc., et. al. (Adv. Proc. No. 23-5013 (the “HCHK Entities A.P.”), Docket No. 139), which
     adversary proceeding seeks, among other things, a declaratory judgment that HCHK and Lexington were the alter
     egos of the Debtor. The Trustee incorporates by reference herein, the Trustee’s Complaint filed in the HCHK
     Entities A.P. (Adv. Proc. No. 23-5013, Docket No. 1).

     The Court has entered judgment to the effect that Golden Spring was the Debtor’s alter ego. See Despins v.
     Golden Spring (New York) Limited (Adv. Proc. No. 23-5018 (the “Golden Spring A.P.”), Docket No. 35). The
     Trustee incorporates by reference herein, the Trustee’s Complaint filed in the Golden Spring A.P. (Adv. Proc.
     No. 23-5018, Docket No. 1).


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companies were his alter egos and/or that such companies and their assets were equitably owned

by the Debtor and in several the Bankruptcy Court has already granted such relief.5

         22.      The fact patterns in these litigations consistently involve: (i) Debtor-controlled shell

companies held by close family members and/or subordinates, (ii) assets purchased with cash from

other Debtor-controlled entities and/or transferred to and among shell entities for no consideration,

and (iii) the Debtor benefiting from and having control and dominion over such assets.

C.       Debtor’s Conduct to Hinder, Delay, and/or Defraud Creditors

         23.      In addition to the matters addressed in the Trustee’s adversary proceedings, the

Bankruptcy Court has found that the Debtor was the beneficial owner of Ace Decade Limited (and

through it, Dawn State Limited) and that the Debtor controlled and employed Ace Decade

Limited’s nominee shareholder, Yvette Wang.6

         24.      The Bankruptcy Court has also found that the “G Entities” (Gettr, G Fashion, G

Music, GClubs, GNews and GEdu), the New Federal State of China and the Rule of Law

Foundation, as well as other purportedly independent entities and organizations, were controlled




5
     These include the following adversary proceedings: (i) Luc A. Despins, Chapter 11 Trustee v. HK International
     Funds Investments (USA) Limited, LLC, et al. [Adv. Proc. No. 22-05003]; (ii) Luc A. Despins, Chapter 11
     Trustee v. Greenwich Land LLC, et al. [Adv. Proc. No. 23-05005]; (iii) Luc A. Despins, Chapter 11 Trustee v.
     Mei Guo [Adv. Proc. No. 23-05008]; (iv) Luc A. Despins, Chapter 11 Trustee v. HCHK Technologies, Inc., et
     al. [Adv. Proc. No. 23-05013]; (v) Luc A. Despins, Chapter 11 Trustee v. Taurus Fund LLC, et al. [Adv. Proc.
     No. 23-05017]; (vi) Luc A. Despins, Chapter 11 Trustee v. Golden Spring (New York) Limited [Adv. Proc. 23-
     05018]; and (vii) Luc A. Despins, Chapter 11 Trustee v. Lamp Capital LLC, et al. [Adv. Proc. 23-05023].
6
     Order Granting Motion to Hold Debtor in Contempt of Corporate Governance Order, ¶¶ 1, 4 (Jan. 24, 2023,
     Docket No. 1372 (“Corp. Governance Contempt Order”).


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by the Debtor7, led by the Debtor8 and/or served “the purposes of… and as business vehicles of”

the Debtor.9

         25.     Prior to the Petition Date, Judge Liman of the United States District Court for the

Southern District of New York found that Eastern Profit Corporation Limited, an entity originally

owned by one of the Debtor’s chefs before its transfer to Debtor’s daughter, was “in essence, a

shell corporation” for the Debtor.10

         26.     The Debtor has gone to great lengths to hinder and delay the collection efforts of

one of his largest creditors, i.e., Pacific Alliance Asia Opportunity Fund, L.P. (“PAX”). In 2017,

PAX sued the Debtor in the Supreme Court of the State of New York (the “New York Court”),

Index No. 652077/2017 (the “PAX Case”), seeking judgment for monies owed. On February 3,

2021, PAX obtained a judgment from the New York Court against the Debtor in the sum of

$116,402,019.57 (the “PAX Judgment”). PAX sought to enforce the PAX Judgment by levying

the Debtor’s assets—including the Lady May, which the Debtor falsely claimed was owned by his

daughter, and the Debtor’s luxury apartment in Manhattan, which the Debtor falsely claimed was

held in trust for the Debtor’s son. The Debtor’s defiance of New York Court orders in post-

judgment proceedings eventually resulted in the Debtor incurring contempt penalties of $134

million.




7
     Corrected Memorandum of Decision Granting in Part Motion for Preliminary Injunction, ¶ 3 (Adv. Proc. No.
     22-05032, January 13, 2023 (“The Debtor also controls Saraca Media Group and a related entity ‘GTV’”).
8
     Id. at ¶ 7 (“The Debtor is the leader of The Whistleblower Movement, NFSC, ROLF and Himalaya.”).
9
     Id. (“The Whistleblower Movement, NFSC, ROLF, GSeries, and Himalaya serve the purposes of the Debtor,
     serve as business vehicles for the Debtor, and their members are personally loyal to the Debtor.”).
10
     Eastern Profit Corp. Ltd. v. Strategic Vision US LLC, No. 18-CV-2185 (LJL) 2021 WL 2554631, at *1 (S.D.N.Y.
     June 22, 2021).

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           27.     The Debtor also used his alter egos, including Greenwich Land, G Club, HCHK

Technologies, Lexington, and Golden Spring, as personal piggy-banks, funding the lavish lifestyle

to which he and his family had become accustomed, while concealing assets in these alter egos

from his creditors and hindering and delaying creditors from recoveries on their claims. The

transfers that the Debtor effectuated through these alter egos perpetuated the Debtor’s fraudulent

scheme.

           28.     The Debtor has testified before the Bankruptcy Court that he has insufficient assets

to pay his liabilities and that his luxurious lifestyle is funded by his family through businesses

nominally held by family members.11 The Debtor scheduled only $3,850 in assets.12

           29.     In March 2023, the Debtor was arrested and remains confined pending his trial on

federal criminal charges of, among other things, wire fraud, securities fraud, and money

laundering.

           30.     In its criminal indictment of the Debtor, the United States Government asserts that

the Debtor and his co-defendants “utilized more than approximately 500 accounts held in the

names of at least 80 different entities or individuals to launder more than $1 billion in fraud

proceeds.”13




11
       Hearing on Debtor’s Motion for Entry of Interim and Final DIP Orders (I) Authorizing the Debtor to Obtain
       Unsecured, Subordinated Postpetition Financing and (II) Scheduling Interim and Final Hearings, and (III)
       Granting Related Relief (Main Case, April 27, 2022)
12
       See n.3
13
     See Memorandum of Law of the United States of America in Opposition to Defendant Yanping Wang’s Motion for
       Pretrial Release at 29, attached as Exhibit B in the Reply of Chapter 11 Trustee to G Club Operations LLC’s
       Supplemental Objection to Trustee’s Motion to Compel and Request for Related Relief (June 23, 2023, Main
       Case Docket No. 1934).


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       31.     The property of the Debtor’s alter egos, including Greenwich Land, G Club,

Lexington, HCHK Technologies, and Golden Spring, was at all times prior to the Petition Date

property of the Debtor.

       32.     At all times relevant herein, the Debtor conducted business in New York, New

York, including direction of the prepetition transfers at issue in this Complaint.

D.     Debtor’s Shell Game and Fraud Continues Postpetition

       33.     As of the Petition Date, all of the Debtor’s property held through his alter egos,

including Greenwich Land, G Club, Lexington, HCHK Technologies, and Golden Spring, became

property of the chapter 11 estate. See 11 U.S.C. § 541(a)(1).

       34.     Following the Petition Date, the Debtor, with blatant disregard for the Bankruptcy

Court and his obligations under the Bankruptcy Code, continued to effectuate transfers through

numerous alter ego shell companies, including, without limitation, Greenwich Land, G Club,

Lexington, and Golden Spring.

       35.     None of these postpetition transfers were authorized by the Bankruptcy Court nor

were such transfers authorized under the Bankruptcy Code.

E.     Transfers Made with Intent to Hinder, Delay, or Defraud Creditors

       36.     The Transfers at issue in this Complaint were made with the intent to hinder, delay,

and/or defraud the Debtor’s creditors inasmuch as they were all made through the Debtor’s alter

ego shell companies operated as a part of the Debtor’s shell game.

       37.     The Debtor intentionally orchestrated his financial affairs in this manner in order

to conceal and dissipate millions of dollars in assets while falsely pleading poverty to his many

creditors. The Debtor claimed to be destitute while simultaneously spending heavily to maintain

a billionaire lifestyle for himself and for his family members and close associates.



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       38.     The assets concealed and dissipated by the Debtor included funds that he obtained

from the victims of his cryptocurrency, securities, and other fraud schemes. As a result of this

conduct, the Debtor faces multiple felony fraud, money laundering, and racketeering charges in a

criminal case pending in the U.S. District Court for the Southern District of New York. See United

States v. Ho Wan Kwok, case no. 1:23-cr-00118-AT [ECF No. 215] (Jan. 3, 2024 S.D.N.Y.).

       39.     The Debtor knew and intended that by concealing and dissipating his assets in this

manner there would not be sufficient assets remaining to repay his creditors—including the many

victims of his frauds. These transfers were thus necessarily made with the intent to hinder, delay,

and/or defraud the Debtor’s creditors.

       40.     Among the practices of the Debtor’s shell game was the issuance of debit cards

funded by the Debtor’s assets owned through his alter egos (the “Debit Cards”). The Debit Cards

were issued to the Beneficiary Defendants, as well as other members of the Debtor’s immediate

family, the Debtor’s personal employees, and the Debtor’s subordinates who assisted in the

conduct of his financial affairs (e.g., Yanping Wang).

       41.     All of the foregoing persons were either complicit or actively participated in the

Debtor’s shell game, including by serving as nominal owners and/or holding other positions in the

Debtor’s alter ego shell companies.

       42.     The Debtor permitted the Beneficiary Defendants to use the Debit Cards to enrich

themselves and to dissipate property held through the Debtor’s shell companies.

       43.     The transfers to Amazon which are at issue in this case were in part effectuated

through the use of these Debit Cards by the Beneficiary Defendants (the “Beneficial Transfers”).

F.     Transfers to Amazon




                                                    10
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        44.     Prior to the Petition Date, the Debtor, using his alter ego shell companies

Greenwich Land, G Club, Lexington, HCHK Technologies and Golden Spring, or otherwise,

transferred the Debtor’s property to Amazon (collectively, the “Prepetition Transfers”), including,

without limitation, as follows:

                See SCHEDULE A attached hereto and made a part hereof.

        45.     Subsequent to the Petition Date, the Debtor, through his shell companies,

Greenwich Land, G Club, Lexington, and Golden Spring, or otherwise, transferred property of the

estate to Amazon (collectively, the “Postpetition Transfers”), including, without limitation, as

follows:

        See SCHEDULE B attached hereto and made a part hereof.

        46.     At the time of the Prepetition Transfers and the Postpetition Transfers (collectively,

the “Transfers”), the Debtor had outstanding obligations to creditors of the Debtor’s estate.

        47.     Amazon was the initial transferee of the Transfers.

                                            FIRST CLAIM

           (Claim Against Amazon to Avoid and Recover Against Amazon Actual Fraudulent
               Transfers Pursuant to Bankruptcy Code sections 548(a)(1)(A) and 550(a))

        48.     The Trustee repeats and realleges the allegations contained in paragraphs 1-42 as if

fully set forth herein.

        49.     The Prepetition Transfers were made by the Debtor through his alter egos,

Greenwich Land, G Club, Lexington, HCHK Technologies and Golden Spring, with the actual

intent to hinder, delay and/or defraud his creditors.

        50.     The Debtor’s intent to hinder, delay, and/or defraud his creditors in effectuating the

Prepetition Transfers is shown by, among other things:




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              a.       The Prepetition Transfers were effectuated using an alter ego shell

      company;

              b.       The Prepetition Transfers were concealed from the Debtor’s creditors;

              c.       The Prepetition Transfers were effectuated as part of the Debtor’s “shell

      game” with the aid of the Debtor’s family members and other lieutenants and subordinates

      that he controlled in an effort to conceal and shield assets;

              d.       The Prepetition Transfers furthered the Debtor’s fraudulent conduct by

      enabling the Debtor to benefit from his fraud without subjecting his property to the reach

      of his creditors;

              e.       The Prepetition Transfers furthered the Debtor’s fraudulent conduct by

      enabling the Debtor to profit from his fraud without subjecting his property to the reach of

      his creditors;

              f.       At the time of the Prepetition Transfers, the Debtor was being sued,

      including by PAX in the PAX Case; and

              g.       At the time of the Prepetition Transfers, the Debtor was insolvent or

      undercapitalized.

      51.     The Prepetition Transfers are avoidable by the Trustee pursuant to section

548(a)(i)(A) of the Bankruptcy Code and are recoverable pursuant to section 550(a) of the

Bankruptcy Code.




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                                          SECOND CLAIM

 (Claim Against Amazon to Avoid and Recover Actual Fraudulent Transfers pursuant to
 N.Y. Debt. & Cred. Law sections 273, 274, and 276, and Bankruptcy Code sections 544(b)
                                       and 550(a))

        52.     The Trustee repeats and realleges the allegations contained in paragraphs 1-42 as if

fully set forth herein.

        53.     The Prepetition Transfers were made by the Debtor, through his alter egos,

Greenwich Land, G Club, Lexington, HCHK Technologies and Golden Spring, with the actual

intent to hinder, delay and/or defraud his creditors.

        54.     The Debtor’s intent to hinder, delay, and/or defraud his creditors in effectuating the

Prepetition Transfers is shown by, among other things:

                a.        The Prepetition Transfers were effectuated using an alter ego shell

        company;

                b.        The Prepetition Transfers were concealed from the Debtor’s creditors;

                c.        The Prepetition Transfers were effectuated as part of the Debtor’s “shell

        game” with the aid of the Debtor’s family members and other lieutenants and subordinates

        that he controlled in an effort to conceal and shield assets;

                d.        The Prepetition Transfers furthered the Debtor’s fraudulent conduct by

        enabling the Debtor to benefit from his fraud without subjecting his property to the reach

        of his creditors;

                e.        The Prepetition Transfers furthered the Debtor’s fraudulent conduct by

        enabling the Debtor to profit from his fraud without subjecting his property to the reach of

        his creditors;




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                f.        At the time of the Prepetition Transfers, the Debtor was being sued,

        including by PAX in the PAX Case; and

                g.        At the time of the Prepetition Transfers, the Debtor was insolvent or

        undercapitalized.

        55.     The Prepetition Transfers are avoidable by the Trustee pursuant to N.Y. Debt. &

Cred. Law sections 273(a)(1), 274, and 276, and section 544(b) of the Bankruptcy Code and

recoverable pursuant to section 550(a) of the Bankruptcy Code.

                                          THIRD CLAIM

         (Claim Against Amazon to Avoid and Recover Constructive Fraudulent Transfers
                 Pursuant to Bankruptcy Code sections 548(a)(1)(B) and 550(a))

        56.     The Trustee repeats and realleges the allegations contained in paragraphs 1-42 as if

fully set forth herein.

        57.     The Debtor received less than a reasonably equivalent value in exchange for the

Prepetition Transfers.

        58.     At the time of the Prepetition Transfers, the Debtor was insolvent or became

insolvent as a result of the Prepetition Transfers.

        59.     At the time of the Prepetition Transfers, the Debtor was engaged in a business or

transaction, or was about to engage in a business or transaction, for which any property remaining

with the Debtor was an unreasonably small amount of capital.

        60.     At the time of the Prepetition Transfers, the Debtor intended to incur or believed he

would incur, debts that would be beyond his ability to pay as such debts matured.

        61.     The Prepetition Transfers constitute fraudulent transfers and are avoidable by the

Trustee pursuant to section 548(a)(1)(B) of the Bankruptcy Code and are recoverable pursuant to

section 550(a) of the Bankruptcy Code.

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                                       FOURTH CLAIM

(Claim Against Amazon to Avoid and Recover Constructive Fraudulent Transfers Pursuant
 to N.Y. Debt. & Cred. Law sections 273(a)(2), 274 and 276 and Bankruptcy Code sections
                                   544(b) and 550(a))

        62.     The Trustee repeats and realleges the allegations contained in paragraphs 1-42 as if

fully set forth herein.

        63.     The Debtor did not receive reasonably equivalent value in exchange for the

Prepetition Transfers.

        64.     At the time of the Prepetition Transfers, the Debtor was insolvent or the Debtor

became insolvent as a result of the Prepetition Transfers.

        65.     At the time of the Prepetition Transfers, the Debtor was engaged in a business or

transaction, or was about to engage in a business or transaction which any property remaining with

the Debtor was an unreasonably small amount of capital.

        66.     At the time of the Prepetition Transfers, the Debtor intended to incur, or believed

or reasonably should have believed that he would incur, debts that would be beyond his ability to

pay as such debt matured.

        67.     The Prepetition Transfers are avoidable by the Trustee pursuant to N.Y. Debt. &

Cred. Law sections 273(a)(2), 274 and 276 and section 544(b) of the Bankruptcy Code and are

recoverable pursuant to section 550(a) of the Bankruptcy Code.

                                             FIFTH CLAIM

    (Claim Against Amazon to Avoid and Recover Unauthorized Postpetition Transfers
                 pursuant to Bankruptcy Code sections 549 and 550(a))

        68.     The Trustee repeats and realleges the allegations contained in paragraphs 1-42 as

if fully set forth herein.




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        69.     The Postpetition Transfers were made to Amazon by the Debtor, including through

his alter ego shell companies, Greenwich Land, G Club, Lexington, and Golden Spring.

        70.     The Postpetition Transfers occurred after the Petition Date.

        71.     The Postpetition Transfers were not authorized by the Bankruptcy Court or by the

Bankruptcy Code.

        72.     The Postpetition Transfers constituted the unauthorized transfer of property of the

Debtor’s chapter 11 estate.

        73.     The Postpetition Transfers are avoidable pursuant to section 549(a) of the

Bankruptcy Code.

        74.     Pursuant to section 550(a) of the Bankruptcy Code, the Trustee is entitled to recover

the Postpetition Transfers, or the value thereof, from Amazon plus interest thereon to the date of

payment and the costs of this action.

                                         SIXTH CLAIM

         (Claim Against Beneficiary Defendants to Recover Transfers for the Benefit of the
            Beneficiary Defendants Pursuant to Bankruptcy Code section 550(a))

        75.     The Trustee repeats and realleges the allegations contained in paragraphs 1-42 as if

fully set forth herein.

        76.     The Beneficiary Defendants were the parties for whose benefit the Beneficial

Transfers were made, because such transfers enabled the Beneficiary Defendants to make

purchases of goods or services from Amazon using Debit Cards for their own personal benefit.

        77.     Specifically, the Beneficiary Defendants received benefits in the amounts of

$62,768.83 as to Ngok, $152,482.48 as to Hadjicharalambous, $28,866.93 as to Han, $112,599.86

as to Enriquez, and $27,716.25 as to Guo, as a result of their Amazon purchases.




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       78.    To the extent that the Beneficial Transfers are avoided, without waiver of the

Trustee’s claims to recover the value from Amazon, the Beneficial Transfers are recoverable

against the Beneficiary Defendants.

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                                        PRAYER FOR RELIEF

       WHEREFORE, for the foregoing reasons, the Trustee respectfully requests that judgment

be entered as follows:

       1.      On the First Claim, (a) an order declaring that the Prepetition Transfers in an

amount not less than $289,429.23 are avoided pursuant to section 548(a)(1)(A) of the Bankruptcy

Code; (b) an order directing that the Prepetition Transfers be set aside; and (c) recovery of the

Prepetition Transfers, or the value thereof at the Trustee’s option, from Amazon for the benefit of

the Debtor’s estate pursuant to section 550(a)(1) of the Bankruptcy Code;

       2.      On the Second Claim, (a) an order declaring that the Prepetition Transfers in an

amount not less than $289,429.23 are avoided pursuant to section 544(b) of the Bankruptcy Code

and N.Y. Debt. & Cred. Law sections 273(a)(2), 274 and 276; (b) an order directing that the

Prepetition Transfers be set aside; and (c) recovery of the Prepetition Transfers, or the value thereof

at the Trustee’s option, from the Defendant for the benefit of the Debtor’s estate pursuant to N.Y.

Debt & Cred. Law section 276 and section 550(a)(1) of the Bankruptcy Code;

       3.      On the Third Claim, (a) an order declaring that the Prepetition Transfers in an

amount not less than $289,429.23 are avoided pursuant to section 548(a)(1)(B) of the Bankruptcy

Code; (b) an order directing that the Prepetition Transfers be set aside; and (c) recovery of the

Prepetition Transfers, or the value thereof at the Trustee’s option, from Amazon for the benefit of

the Debtor’s estate pursuant to section 550(a)(1) of the Bankruptcy Code;

       4.      On the Fourth Claim, an order declaring that (a) the Prepetition Transfers in an

amount not less than $289,429.23 are avoided pursuant to section 544(b) of the Bankruptcy Code

and N.Y. Debt. & Cred. Law sections 273(a)(2), 274 and 276; (b) an order directing that the

Prepetition Transfers be set aside; and (c) recovery of the Prepetition Transfers, or the value thereof



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at the Trustee’s option, from Amazon for the benefit of the Debtor’s estate pursuant to N.Y. Debt

& Cred. Law section 276 and section 550(a)(1) of the Bankruptcy Code;

       5.      On the Fifth Claim, an order (a) declaring that the Postpetition Transfers in an

amount not less than $198,987.57 are avoided pursuant to section 549 of the Bankruptcy Code;

and (b) an order directing that the Postpetition Transfers be set aside; and (c) recovery of the

Postpetition Transfers, or the value thereof at the Trustee’s option, from Amazon for the benefit

of the Debtor’s estate pursuant to section 550(a)(1) of the Bankruptcy Code;

       6.      On the Sixth Claim, an order (a) declaring that the Beneficial Transfers are

recoverable by the Trustee pursuant to section 550(a) of the Bankruptcy Code and (b) recovery of

the Beneficial Transfers, or the value thereof at the Trustee’s option, in the amounts of $62,768.83

as to Ngok, $152,482.48 as to Hadjicharalambous, $28,866.93 as to Han, $112,599.86 as to

Enriquez, and $27,716.25 as to Guo, for the benefit of the Debtor’s estate pursuant to section

550(a)(1) of the Bankruptcy Code;

       7.      Awarding the Trustee pre-judgment interest at the maximum legal rate from the

date of the filing of this Complaint to the date of judgment herein; and

       8.      Such other and further relief as the Court may deem just, proper, or equitable under

the circumstances.

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Dated: February 10, 2024              LUC A. DESPINS
       New Haven, CT                  CHAPTER 11 TRUSTEE



                                      By: /s/ Patrick R. Linsey_____
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                                         Patrick R. Linsey (ct29437)
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                                 SCHEDULE A


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                               SCHEDULE B


                            FILED UNDER SEAL
